USCA11 Case: 23-14036    Document: 46-1     Date Filed: 08/27/2024   Page: 1 of 6




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-14036
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       JONCY TORRIANNE HALL,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                     for the Northern District of Florida
                  D.C. Docket No. 5:23-cr-00017-TKW-MJF-1
                          ____________________
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       2                         Opinion of the Court                       23-14036


       Before WILSON, JILL PRYOR, and BRANCH, Circuit Judges.
       PER CURIAM:
               Joncy Hall appeals her 120-month sentence, challenging the
       district court’s denial of safety-valve relief pursuant to 18 U.S.C.
       § 3553(f ). After careful review, we aﬃrm.
                                               I.
              On September 14, 2023, Hall pled guilty to three counts of
       various drug violations. 1 As part of the agreement, Hall signed a
       statement of facts that she agreed could be proven beyond a rea-
       sonable doubt. It explained that Hall conspired with Ryan Massey,
       among others, to distribute methamphetamine. It further listed
       certain cooperating defendants who would testify that Hall picked
       up and transported drugs for Massey on several occasions.
              A presentence investigation report (PSI) was prepared for
       the sentencing hearing. Ultimately, the PSI calculated Hall’s guide-
       line range as 87 to 108 months’ imprisonment. It noted that while
       one of the counts mandated a minimum term of 120 months’ im-
       prisonment, the court could impose a sentence without regard to



       1 These violations include: (1) conspiracy to distribute and possess with intent

       to distribute 50 grams or more of methamphetamine and 500 grams or more
       of a mixture and substance containing methamphetamine, 21 U.S.C.
       §§ 841(a)(1), 841(b)(1)(A)(viii), and 846; (2) distribution of methamphetamine,
       id. §§ 841(a)(1) and (b)(1)(C); and (3) distribution of five grams or more of
       methamphetamine, id. §§ 841(a)(1) and (b)(1)(B)(viii).
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       23-14036                Opinion of the Court                           3

       the floor since the Hall seemingly met the safety-valve criteria in
       18 U.S.C. § 3553(f)(1)–(5).
              Relevant to this appeal, the government objected to the
       PSI’s application of safety-valve relief for failure to satisfy the fifth
       prong’s requirement. Specifically, it highlighted how Hall had
       tested positive for methamphetamine while on pretrial release and,
       in a subsequent proffer to law enforcement, both denied knowing
       Massey and failed to provide any information on the distribution
       channels. Hall countered that law enforcement knew she had a
       drug issue and that she showed signs of being on drugs during the
       challenged proffer. She contended that any inaccuracies were due
       to her addiction. However, when the court pointed out that Hall
       had not attempted to make a more truthful proffer in the following
       months, Hall acknowledged that such a failure was significant.
              Based upon these arguments, the district court denied
       safety-valve relief. It explained that Hall had not been fully truthful
       in her proffer, regardless of whether it was due to potential drug
       use or simply a choice not to be forthright. Combined with other
       adjustments at the sentencing hearing, the court calculated the re-
       sulting guideline range as 135 to 168 months’ imprisonment. The
       court sentenced Hall to the mandatory minimum of 120 months’
       imprisonment for each count, to run concurrently, followed by five
       years’ supervised release.
              Hall timely appealed. She argues that the district court
       clearly erred when it denied her safety-valve relief under 18 U.S.C.
       § 3553(f) for failure to provide a truthful and complete proffer to
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       4                      Opinion of the Court                  23-14036

       the government as to the methamphetamine-distribution conspir-
       acy. Hall primarily contends that the statement of facts she signed
       in connection with her plea agreement satisfied the proffer require-
       ment under § 3553(f).
                                        II.
               When faced with the denial of safety-valve relief, we review
       a district court’s factual determinations for clear error and its legal
       interpretations of the statutes and Sentencing Guidelines de novo.
       United States v. Johnson, 375 F.3d 1300, 1301 (11th Cir. 2004) (per cu-
       riam). “[T]he defendant bears the burden of proving eligibility for
       safety-valve relief.” United States v. Milkintas, 470 F.3d 1339, 1345
       (11th Cir. 2006) (per curiam).
               Safety-valve relief permits sentencing without regard to stat-
       utory minimums when speciﬁc requirements are met. 18 U.S.C.
       § 3553(f ). Here, the parties only dispute the ﬁnal requirement,
       which demands that “not later than the time of the sentencing
       hearing, the defendant has truthfully provided to the Government
       all information and evidence the defendant has concerning the of-
       fense or oﬀenses that were part of the same course of conduct or
       of a common scheme or plan.” Id. § 3553(f )(5); see also U.S.S.G.
       § 5C1.2(a)(5). This factor “is a ‘tell-all’ provision: to meet its re-
       quirements, the defendant has an aﬃrmative responsibility to
       ‘truthfully disclose to the government all information and evidence
       that he has about the oﬀense and all relevant conduct.’” Johnson,
       375 F.3d at 1302 (quoting United States v. Yate, 176 F.3d 1309, 1310
       (11th Cir. 1999)). The convicted oﬀense “determines the scope of
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       23-14036                  Opinion of the Court                                5

       information which the defendant must disclose.” Id. For example,
       where a defendant is convicted of conspiracy to possess with intent
       to distribute, the “burden is on the defendant to come forward and
       to supply truthfully to the government all the information that
       [she] possesses about [her] involvement in the oﬀense, including
       information relating to the involvement of others and to the chain
       of the narcotics distribution.” United States v. Cruz, 106 F.3d 1553,
       1557 (11th Cir. 1997).
              Importantly, “lies and omissions do not, as a matter of law,
       disqualify a defendant from safety-valve relief so long as the defend-
       ant makes a complete and truthful proffer not later than the com-
       mencement of the sentencing hearing.” United States v. Brownlee,
       204 F.3d 1302, 1305 (11th Cir. 2000). Instead, their lies and omis-
       sions remain relevant, becoming “part of the total mix of evidence
       for the district court to consider in evaluating the completeness and
       truthfulness of the defendant’s proffer.” Id. (quotation marks omit-
       ted).
               The district court did not clearly err 2 in denying safety-valve
       relief for Hall. There was evidence before the court that Hall both
       lied about her involvement with Massey and omitted relevant de-
       tails about her prior and subsequent drug distribution—including
       her own recent consumption. See Cruz, 106 F.3d at 1557. While


       2 The parties dispute whether plain error review applies based upon the fram-

       ing of Hall’s arguments at the district court. Because we find that the district
       court’s decision withstands clear error review, we limit our analysis accord-
       ingly.
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       6                       Opinion of the Court                  23-14036

       any lies or omissions will not necessarily disqualify Hall from
       safety-valve relief, the court is entitled to consider her actions in
       the total mix of evidence for a complete and truthful proffer. See
       Brownlee, 204 F.3d at 1305. Contrary to Hall’s contentions, the rec-
       ord reflects that the district court questioned both sides about the
       weight of the statements in Hall’s proffer and independently deter-
       mined their truthfulness and completeness. And her acquiescence
       to a prior statement of facts, containing basic investigative infor-
       mation, fails to demonstrate that Hall carried her burden under
       § 3553(f)(5). See Milkintas, 470 F.3d at 1345. Based upon this record,
       we cannot say that the court clearly erred in finding Hall failed to
       demonstrate that she provided all information and evidence she
       had concerning her drug convictions.
                                         III.
              We find no error in the district court’s denial of Hall’s safety-
       valve relief. Accordingly, we affirm her sentence.
              AFFIRMED.
